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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

____________________________________
UNITED STATES OF AMERICA             )
                                     )
          v.                         )                Criminal No. 14Cr10276-IT
                                     )
                                     )
JOHN CRANNEY,                        )
                                     )
             Defendant.              )
____________________________________)

                  JOHN CRANNEY’S AMENDED MOTION
                    FOR JUDGMENT OF ACQUITTAL
                       (Memorandum Incorporated)

      Now comes the defendant John Cranney, by and through undersigned

counsel, and hereby respectfully moves this Court to grant him leave to amend his

Motion for Judgment of Acquittal nunc pro tunc pursuant to Rule 29 of the Federal

Rules of Criminal Procedure to include Count 18 along with Counts 11, 12, 14, 15,

19 and 21. In support of this Motion, defendant states the following:

      1. Count 18 involves allegations that Mr. Cranney induced Elizabeth Sutton

         to give him money as part of the same scheme charged in Counts 11, 12

         and 14 of the indictment in violation of Title 18 U.S.C. §1341.

      2. Mr. Cranney moves for this Court to enter a Judgment of Acquittal for

         Count 18 for the same identical reasons articulated in his original Motion

         for Judgment of Acquittal for Counts 11, 12 and 14.


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      3. Mr. Cranney’s counsel inadvertently omitted Count 18 in his original

         Motion for Judgment of Acquittal. He moves this Court to Amend his

         original motion for good cause nunc pro tunc.

      4. The government assents to this Motion and defendant acknowledges that

         the government’s opposition encompasses and applies to Count 18 also.

      Wherefore, defendant moves this Court to grant him leave to amend his

Motion for Judgment of Acquittal for the reasons stated above nunc pro tunc.


                                             Respectfully Submitted,



                                             /s/JAMES BUDREAU
                                             James Budreau
                                             BBO# 553391
                                             Bassil & Budreau
                                             20 Park Plaza, Suite 1005
                                             Boston, MA 02116
                                             617-366-2200
                         CERTIFICATE OF SERVICE

       I, James Budreau, do hereby certify that this motion has been filed
electronically and that it will be served electronically to registered ECF
participants as identified on the Notice of Electronic Filing (NEF) on May 7,
2018.


                                             /s/ James Budreau
                                                 James Budreau




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